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                                                                                 EOD
                                                                                 07/21/2021
                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION


IN RE:                                §
                                      §
CORRY DAVIS MARKETING, INC. §                          Case No. 21-60280
xx-xxx8498                            §
542 East Highway 64, Canton, TX 75103 §
                                      §
                      Debtor          §                Chapter 11 - Subch. V


            ORDER SETTING EMERGENCY VIRTUAL HEARING
          ON DEBTOR'S MOTION FOR AUTHORITY TO CONTINUE
             INSURANCE PREMIUM FINANCING AGREEMENT
         WITH ASSOCIATED RISK MANAGERS FINANCE COMPANY

       ON THIS DATE the Court considered the request for emergency hearing filed on

July 21, 2021, by Corry Davis Marketing, Inc. (“Debtor”), the Debtor and Debtor-in-

Possession in the above-referenced case, in conjunction with its Motion for Authority to

Continue Insurance Premium Financing Agreement with Associated Risk Managers

Finance Company (the “Motion”) [dkt #18] which was also filed on July 21, 2021. The

Court finds that the request complies with LBR 9007(b) and demonstrates that sufficient

cause exists for the scheduling of an emergency virtual hearing on the Motion.

      IT IS THEREFORE ORDERED that the request for emergency hearing is

GRANTED and that an emergency hearing on the Debtor’s Motion for Authority to

Continue Insurance Premium Financing Agreement with Associated Risk Managers
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Finance Company will be conducted by virtual hearing on:

                        Tuesday, July 27, 2021 at 1:30 p.m.

           *** Virtual Hearing Link: https://bit.ly/3rxQJBF ***


       IT IS FURTHER ORDERED that the presentation of proposed exhibits at this

virtual hearing by any party-in-interest should be:

              (1) tendered in an electronic format,

              (2) properly marked by party designation per LBR 7016(d)(2) or (3); and

              (3) separately attached and filed in the Court’s docket on or before 11:00
                     a.m. CST on the day of the hearing.


       IT IS FURTHER ORDERED that the hearing shall be conducted pursuant to the

directives regarding the conduct of virtual hearings located on Judge Searcy's webpage on

the Court's website, www.txeb.uscourts.gov/content/judgesearcy under the Virtual

Hearings tab. Attorneys are responsible for the virtual appearance of any witness called

in its case-in-chief. Any such witness must:

       (1) join the hearing as a separate participant from the sponsoring attorney;
       (2) using a different camera and microphone than the sponsoring attorney; and
       (3) be capable of accessing any exhibit needed for the examination.

       IT IS FURTHER ORDERED that further questions regarding the virtual

emergency hearing may be forwarded to the Courtroom Deputy as set forth below:


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                                     Ms. Alexa Turman
                                     Phone: (903) 590-3240
                                     or
                                     Email: Alexa_Turman@txeb.uscourts.gov


       IT IS FURTHER ORDERED that, unless notice of this Order has been given by

the Court by electronic means through its CM-ECF system as indicated on the related

Notice of Electronic Filing pertaining to this Order, the Debtor-in-Possession or its

counsel shall give notice of this emergency hearing by forwarding a copy of this Order

by the most expedient means available, including electronic or facsimile transmission, if

possible, to all other parties listed in the certificate of service contained in the Motion, to

all parties entitled to notice under the Federal Rules of Bankruptcy Procedure or pursuant

to LBR 9013, as well as any other affected party, and the Debtor-in-Possession or its

counsel shall evidence such service by the filing of a Certificate of Service with the Court

prior to the scheduled hearing.


                                     Signed on 07/21/2021




                                                                                         AT
                                     THE HONORABLE JOSHUA P. SEARCY
                                     UNITED STATES BANKRUPTCY JUDGE




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